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✎GAM 35                       Report and Order Terminating Supervised Release
(Rev. 2/06)                           Prior to Original Expiration Date


                         UNITED STATES DISTRICT COURT
                                                   FOR THE

                                    MIDDLE DISTRICT OF GEORGIA


              UNITED STATES OF AMERICA

                         v.                               Crim. No.    7:14-CR-00048-005 (HL)

                LATARIS WATERS

Lataris Waters was sentenced to 60 months in Bureau of Prisons custody and 48 months of
supervised release on February 25, 2016, after pleading guilty to the offense of Conspiracy to Possess
with Intent to Distribute Cocaine and Cocaine Base. Waters has complied with all conditions of
supervision. She has maintained suitable housing and employment. She has had no new
arrests/convictions. There is neither identifiable risk to a particular victim/individual nor risk to
public safety. The special assessment has been satisfied. It is accordingly recommended that Waters
be discharged from supervision.


                                                              Respectfully submitted,




                                                              William J. Lee
                                                              U.S. Probation Officer

                                            ORDER OF COURT
Pursuant to the above report, it is ordered that the supervised releasee be discharged from supervision and that
the proceedings in the case be terminated.

       Dated this     19th         day of           October             , 2021.




                                                               s/Hugh Lawson
                                                            HUGH LAWSON
                                                            SENIOR U.S. DISTRICT JUDGE
